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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

 Case No.       EDCV 18-505 JGB (KKx)                                Date July 19, 2018
 Title Mark E. Phillips v. Melissa Rae Jackson, et al.


 Present: The Honorable         JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


               MAYNOR GALVEZ                                          Not Reported
                 Deputy Clerk                                        Court Reporter


    Attorney(s) Present for Plaintiff(s):                Attorney(s) Present for Defendant(s):
                 None Present                                         None Present

 Proceedings:      Order to Show Cause Regarding Service of Process (IN CHAMBERS)


    On March 13, 2018, Plaintiff Mark D. Phillips (“Plaintiff”), proceeding pro se, filed a
complaint against Melissa Rae Jackson and Blink Innovation, LLC (collectively, “Defendants”)
alleging ten causes of action: (1) violation of Computer Fraud and Abuse Act (18 U.S.C. § 1030);
(2) invasion of privacy (Cal. Penal Code § 632); (3) breach of fiduciary duty; (4) fraud in the
inducement; (5) threat of extortion; (6) conversion; (7) defamation; (8) extortion; (9) fraud; and
(10) libel per se. (“Complaint,” Dkt. No. 1.)

   The Court has not received proof of service to Defendants and is unsure whether Plaintiff has
complied with the proper procedure for service. Pursuant to Rule 4(m) of the Federal Rules of
Civil Procedure, “if a defendant is not served within 90 days after the complaint is filed, the
court—on motion or on its own motion after notice to the plaintiff—must dismiss the action
without prejudice against that defendant or order that service be made within a specific time.”
Fed. R. Civ. P. 4(m). Since Plaintiff filed his Complaint on March 13, 2018, he had until June 11,
2018 to serve Defendants. See id.

    For ease of reference, Federal Rule of Civil Procedure 4(e) provides instruction for service on
an individual.
             Unless federal law provides otherwise, an individual—other than a minor, an
        incompetent person, or a person whose waiver has been filed—may be served in a
        judicial district of the United States by:




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               (1) following state law for serving a summons in an action brought in courts of
               general jurisdiction in the state where the district court is located or where
               service is made; or

               (2) doing any of the following:

                  (A) delivering a copy of the summons and of the complaint to the
                  individual personally;

                  (B) leaving a copy of each at the individual's dwelling or usual place of
                  abode with someone of suitable age and discretion who resides there; or

                  (C) delivering a copy of each to an agent authorized by appointment or by
                  law to receive service of process.

Fed. R. Civ. P. 4(e).

        Federal Rule of Civil Procedure 4(h) provides instruction for service on a corporation.

             Unless federal law provides otherwise or the defendant’s waiver has been
        filed, a domestic or foreign corporation, or a partnership or other unincorporated
        association that is subject to suit under a common name, must be served:

               (1) in a judicial district of the United States

                  (A) in the manner prescribed by Rule 4(e)(1) for serving an individual; or

                  (B) by delivering a copy of the summons and of the complaint to an officer,
                  a managing or general agent, or any other agent authorized by appointment
                  or by law to receive service of process and—if the agent is one authorized
                  by statue and the statue so requires—by also mailing a copy of each to the
                  defendant; or

               (2) at a place not within any judicial district of the United States, in any
               manner prescribed by Rule 4(f) for serving an individual, except personal
               delivery under (f)(2)(c)(i).

Fed. R. Civ. P. 4(h).

    Accordingly, the Court ORDERS, Plaintiff to show cause in writing no later than August 2,
2018, as to why this action should not be dismissed for failure to effect proper service. Failure to
respond to this ORDER, or an inadequate response, will result in the dismissal of the action.

    IT IS SO ORDERED.

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